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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 NUVASIVE, INC.,                                )
                                                )
                Plaintiff,                      )
 v.                                             ) 6:17-cv-2206-Orl-41GJK
                                                )
 ABSOLUTE MEDICAL, LLC, GREG                    )
 SOUFLERIS, and DAVE HAWLEY,                    )
                                                )
                Defendants.                     )
                                                )

      DEFENDANTS’ MOTION TO QUASH PLAINTIFF’S SUBPOENAS TO PRODUCE
       DOCUMENTS TO OSSEUS FUSION SYSTEMS, LLC, K2M, INC., NOVABONE
             PRODUCTS, LLC, ORTHOFIX, INC., AND LIFE SPINE, INC.

         Pursuant to Rule 45(d) of the Federal Rules of Civil Procedure, Defendants,

 ABSOLUTE MEDICAL, LLC (“Absolute Medical”), ABSOLUTE MEDICAL SYSTEMS, LLC

 (“AMS”), GREG SOUFLERIS (“Soufleris”), DAVE HAWLEY (“Hawley”), and RYAN

 MILLER (”Miller”) (collectively, “Defendants”), hereby move to quash the Subpoenas to

 Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

 Action directed to Osseus Fusion Systems, LLC, K2M, Inc., NoVaBone Products, LLC,

 Orthofix, Inc., and Life Spine, Inc. (collectively, “Non-Parties”) dated July 6, 2018 (the

 “Subpoenas”), issued by NUVASIVE, INC. (“Plaintiff” or “NuVasive”).

                                      INTRODUCTION

         NuVasive is exploiting the discovery rules by embarking on a fishing expedition in an

 attempt to pry into Defendants’ business transactions and relationships with third parties,

 notwithstanding the fact that the documents and information sought are trade secrets and wholly

 irrelevant to the claims and defenses raised in this action. Although the scope of discovery is

 broad, it is not unlimited. As such, this Court should quash NuVasive’s Subpoenas.


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                                               RELEVANT FACTS

            Absolute Medical was in the business of selling medical products and devices on behalf

 of distributors to hospitals and doctors within a certain territory in Florida. (Soufleris Dec., Doc

 38, Ex. 1, at ¶ 2).          Absolute Medical entered into an Exclusive Sales Agreement (“Sales

 Agreement”) with NuVasive on January 1, 2017, for the sale of medical devices used to treat

 spine disease. (Id. at ¶ 3). Subsequently, based on a material loss of revenue from a reduction of

 its sales territory along with the loss of key sales representatives and clients, Absolute Medical

 determined it was no longer financially feasible to continue operating and determined it

 necessary to dissolve. (Id. at ¶¶ 7, 14). Since Absolute Medical’s decision to dissolve, it has not

 conducted any business, other than to wind down its affairs. (Id.)

            On December 29, 2017, NuVasive filed its Complaint for Injunctive Relief and Damages,

 and later filed its Amended Complaint on June 7, 2018, raising several causes of action based on

 an alleged breach of the Sales Agreement. (Compl., Doc 1; Am. Compl., Doc. 68). On February

 6, 2019, NuVasive filed a Motion and Incorporated Memorandum of Law for Preliminary

 Injunction (“Motion for Preliminary Injunction”). (Mtn for Prelim. Inj., Doc. 19). This Court

 entered an Order on May 15, 2018, in which it denied NuVasive’s request for a preliminary

 injunction to specifically enforce the Sales Agreement; however, the Court held an evidentiary

 hearing1 to address whether NuVasive can enforce the non-competes against Defendants. (Doc.

 58, 61). The Court has yet to rule on NuVasive’s Motion for Preliminary Injunction.

            On July 6, 2018, NuVasive issued five third-party subpoenas to produce documents

 directed to several entities with whom Defendants have a business relationship outside the scope

 of this action. (See Exhibit A, Subpoenas.) This Court should quash NuVasive’s Subpoenas

 because Defendants have a personal interest in maintaining the privacy and confidentiality of its
 1
     The evidentiary hearing occurred on June 28, 2018; the Court has yet to make a ruling.

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 business dealings and the Subpoenas request irrelevant information not proportional to the needs

 of the case.

                                   MEMORANDUM OF LAW

        Under Rule 45(d), the Court must quash or modify a subpoena that “requires disclosure

 of privileged or other protected matter, if no exception or waiver applies,” “subjects a person to

 undue burden” or if it discloses a “trade secret, confidential research, development, or

 commercial information.” Fed. R. Civ. P. 45(d)(3)(A)-(B). A party has standing to challenge a

 subpoena served on a third party where that party has a “personal right or privilege with respect

 to the materials subpoenaed.” Armor Screen Corp. v. Storm Catcher, Inc., 2008 U.S. Dist.

 LEXIS 106370 (S.D. Fla. 2008); Medi-Weightloss Franchising USA, LLC v. Medi-Weightloss

 Clinic of Boca Raton, LLC, 2012 U.S. LEXIS 194594, *10 (M.D. Fla. 2012) (“A party has

 standing to object to a non-party subpoena duces tecum with respect to privilege, trade secrets,

 confidential research, commercial information, or similar grounds personal to a party.”)

    I. Defendants Have an Expectation of Privacy in Their Business Transactions.

        NuVasive’s Subpoenas should be quashed because they seek documents and information

 that Defendants have a personal right or privilege in keeping confidential because Defendants

 have an expectation of privacy in their business relationships with Non-Parties. Specifically,

 Defendants have a privacy interest in their communications, contracts, and financial records with

 Non-Parties as such information are trade secrets or otherwise confidential and proprietary.

 Cornett v. Lender Processing Servs., 2012 U.S. Dist. LEXIS 154746, *5 (S.D. Fla. 2012)

 (Although the motion to quash was ultimately denied, the court recognized that many business

 records are confidential and proprietary in nature.) Trade secret, as defined by Florida statute, is

        [i]Information, including a formula, pattern, compilation, program, device,
        method, technique, or process that:


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                   (a) Derives independent economic value, actual or potential, from not
                  being generally known to, and not being readily [**9] ascertainable by
                  proper means by, other persons who can obtain economic value from its
                  disclosure or use, and

                  (b) Is the subject of efforts that are reasonable under the circumstances to
                  maintain its secrecy.

 Fla. Stat. § 688.002(4) (2018).

           Here, NuVasive seeks all communications, contracts, and sales and commissions records

 between Defendants2 and Non-Parties. (See Exhibit A, Subpoenas). However, Defendants have

 a reasonable expectation of privacy in their business dealings and transactions, especially

 considering that Defendants and Non-Parties are competitors in the same industry as NuVasive;

 thus, producing these documents would cause substantial economic harm to Defendants’

 competitive position. The documents sought contain highly sensitive, confidential business

 information between Defendants and Non-Parties.                   Specifically, the email communications,

 contracts, and sales and commissions records are likely to reveal Defendants’ confidential

 methods, techniques, and processes in obtaining and maintaining clients and confidential pricing

 and terms for competitive products, which could be used by NuVasive to gain a competitive

 advantage over Defendants. Accordingly, NuVasive’s Subpoenas should be quashed.

     II.      NuVasive is Seeking Documents that are Irrelevant and Not Proportional to the
              Claims and Defenses Raised.

           NuVasive’s Subpoenas should be quashed because they seek irrelevant information. (See

 Exhibit A, Subpoenas.) Although, the scope of discovery under the Federal Rules is quite broad,

 it is not unlimited, and the courts have wide discretion when setting discovery limits. Fadalla v.


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   NuVasive is also seeking all contracts and records of sales and commissions between Absolute Ortho, Inc., The
 Absolute Group, Inc. and Non-Parties. (See Exhibit A, Subpoenas.) Although Soufleris has an interest in Absolute
 Ortho, Inc. and The Absolute Group, Inc., they are not parties to this litigation and, more importantly, there are no
 allegations in NuVasive’s Amended Complaint concerning either entity.

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 Life Auto. Prods., 2007 U.S. Dist. LEXIS 88890, *6 (M.D. Fla. 2007). It is axiomatic that

 information is not discoverable if it is not relevant, and the party seeking the discovery bears the

 burden to prove its requests are relevant. Id. The Rule 26 relevancy requirement "'signals to the

 court that it has the authority to confine discovery to the claims and defenses asserted in the

 pleadings, and signals to the parties that they have no entitlement to discovery to develop new

 claims or defenses that are not already identified in the pleadings.'" Costa v. Metro Life Ins. Co.,

 2018 U.S. Dist. LEXIS 5810, *5-6 (M.D. Fla. 2018); Fed. R. Civ. P. 26(b)(1). Although the


 relevancy standard is broad, contracts entered into between defendants and non-parties, and not

 contained in the claims or allegations or as part of the defenses raised, are completely irrelevant.

 Herman v. Seaworld Parks & Entm’t, Inc., 2016 U.S. Dist. LEXIS 90880, *1 (M.D. Fla. 2016)

 (“Discovery is shaped by the allegations in the complaint in that discovery must be relevant to

 the claims at issue in the litigation.”). Further, discovery of financial records prior to the entry of

 judgment is improper. Auto-Owners Ins. Co. v. Southeast Floating Docks, Inc., 2005 U.S. Dist.

 LEXIS 21524, *8-9 (M.D. Fla. 2005). As such, a subpoena should be quashed if the requests will

 produce clearly irrelevant documents. Goulet v. Mederi Caretenders VS of SW FL, LLC, 2011

 LEXIS 20656, *2 (M.D. Fla. Feb. 14, 2011); Palumbo v. Shulman, 97 Civ. 4314, 1998 LEXIS

 16009, *3 (S.D.N.Y. Oct. 13, 1998) (noting that “a subpoena which calls for the production of

 irrelevant material, should not be enforced”).




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         Additionally, discovery must be proportional to the needs of the case. Flynn v. Square

 One Distrib., Inc., 2016 U.S. Dist. LEXIS 68645, *4 (M.D. Fla. May 25, 2016); Steel Erectors,

 Inc. v. AIM Steel Int’l, Inc., 312 F.R.D. 673, 676–77 (S.D. Ga. Jan. 4, 2016) (court denied

 plaintiff’s motion to compel irrelevant material to prevent needless litigation costs, which would

 defeat Rule 26(b)(1)’s goal of proportionality). The Court “must start with the actual claims and

 defenses in the case, and a consideration of how and to what degree the requested discovery

 bears on those claims and defenses." Digital Assur. Certification, LLC v. Pendolino, 2017 U.S.

 Dist. LEXIS 160399, *24 (M.D. Fla. 2017). To satisfy the proportionality requirement, the

 requested information “must be more than tangentially related to the issues that are actually at

 stake in the litigation.” Flynn, 2016 WL 2997673, at *4; Edmonson v. Velvet Lifestyles, LLC,

 2016 WL 7048363, at *7 (S.D. Fla. Dec. 5, 2016) (“Plaintiffs here must make a ‘threshold

 showing’ and confront reality that ‘[m]ere speculation that information might be useful will not

 suffice.’”). Discovery has "never been a license to engage in an unwieldy, burdensome and

 speculative fishing expedition." Murphy v. Deloitte & Touche Group Ins. Plan, 619 F. 3d 1151,

 1163 (l0th Cir. 2010); Porter v. Ray, 461 F.3d 1315, 1324 (11th Cir. 2006) (“[T]he discovery

 rules do not permit the [parties] to go on a fishing expedition.")

         Here, NuVasive seeks all communications, contracts, and records of sales and

 commissions between Defendants and Non-Parties, however, the documents sought are

 completely irrelevant and not proportional to the claims and defenses raised in this action. (See

 Exhibit A, Subpoenas.)          First, Hawley and Miller have already admitted3 to working for a

 competing company, Alphatec Spine, Inc. (“Alphatec”), because they are not restrained by non-

 competes. As such, their communications, contracts, and sales/commissions records with third

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   At the evidentiary hearing on June 28th on NuVasive’s Motion for Preliminary Injunction, Hawley and Miller
 provided substantial evidence that they were not subject to any enforceable non-compete agreements. As such, they
 are free to contract with competing companies. The Court has yet to rule on the Motion for Preliminary Injunction.

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 parties are not relevant to this matter and, in fact, would be harmful to Hawley’s and Miller’s

 business relationships if disclosed. Second, NuVasive is improperly seeking post-judgment

 discovery against Soufleris and AMS by requesting their financial records from Non-Parties

 before a judgment has been entered. In its Amended Complaint, NuVasive is only seeking to

 hold Soufleris and AMS liable for damages, if any, attributable to Absolute Medical. (Doc. 68,

 Am. Compl.) Thus, records of sales and commissions are completely irrelevant at this stage in

 litigation. Third, as a preliminary matter, NuVasive should be required to wait until this Court

 rules on its Motion for Preliminary Injunction to determine if non-competes exist for Hawley and

 Miller, if the veil should be pierced to Soufleris, and if AMS is a considered a successor entity to

 Absolute Medical.

           Accordingly, NuVasive’s Subpoenas should be quashed as they seek wholly irrelevant

 information.

    III.      NuVasive’s Requests are Not Narrowly Tailored.

           Finally, even if NuVasive is permitted to obtain records from Non-Parties, NuVasive’s

 requests must be narrowly tailored. Cornett, 2012 U.S. Dist. LEXIS 154746, *5. (finding that

 financial records of a third party doing business with a party in the lawsuit may be discoverable,

 however, the subpoenas must be narrowly tailored.)


           Here, NuVasive is seeking “all” communications with Hawley and Miller and has not

 limited its requests to the email addresses ending in “absolute-medical.org” or “absolute-

 med.com”. Rather, NuVasive is also seeking all communications from Hawley and Miller’s

 gmail accounts, which are clearly not tailored to the claims and defenses in this action.

 Additionally, NuVasive has requested “all” communications, contracts, and records of sales and

 commissions between Non-Parties and Defendants, without limiting its requests in time or


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 scope.4 (See Exhibit A, Subpoenas.) Therefore, in the event this Court does not quash the

 Subpoenas, it should require NuVasive to narrowly tailor its requests.

                                          RELIEF REQUESTED

         Based on the forgoing, Defendants request that this Court (1) quash each of NuVasive’s

 Subpoenas to Produce Documents, Information, or Objects or to Permit Inspection of

 Premises in a Civil Action directed to Osseus Fusion Systems, LLC, K2M, Inc., NoVaBone

 Products, LLC, Orthofix, Inc., and Life Spine, Inc. dated July 6, 2018, and (2) to order Plaintiff

 to refrain from any further contact with persons or customers in a business relationship with any

 Defendants.

                                        GOOD FAITH CERTIFICATION

         The undersigned counsel for Defendants certifies that she conferred with counsel, Diana

 Evans, for NuVasive in a good faith effort to resolve the issues raised in this Motion, however,

 counsel is opposed to the relief sought in this Motion.

         Dated: July 23, 2018


                                                     Respectfully submitted,

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   NuVasive has also requested all contracts and records of sales and commissions between Non-Parties and
 Hawley’s and Millers’s entities: Hawleymed, LLC and Millertime Medical, Inc. However, there are no allegations in
 NuVasive’s Amended Complaint concerning Hawleymed LLC or Millertime Medical. Rather, NuVasive has only
 proceeding against Hawley and Miller, individually. Thus, NuVasive’s requests should be limited to the claims and
 allegations against Hawley and Miller, individually.

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                                 CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on July 23, 2018, I electronically filed the foregoing with the

 Clerk of the Court utilizing the CM/ECF system. I further certify that I electronically transmitted

 a true copy to:

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                             EXHIBIT A




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